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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office — INTAKE
33 Whitehall Street, 5'" Floor
New York, NY 10004

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This agency enforces the laws agalnst discrimination in employment based on rac cold?
religion, national origin, age, sex, disability. or genetic information.. The ever yougfe .

complaining about must have occurred within a maximum of 300 days of the filing of a charge.

Qur jurisdiction covers public and private employers with 15 or more employees (20 or more
employees for age complaints), labor unions, and employment agencies tocated in New York
State south of Albany, If you work for the Federal Government, you must first contact your
agency’s Equal Employment Office in order to file a complaint.

DIG

To better serve your interest and avoid delays in processing your complaint, please answer the
following questions:

name: Toa MYCAELLE fh flAvw STEVO

TEL. NO. WHERE WE CAN CONTACT YOU: H % KEY

~DO-PA

A. What was the Latest or Most Recent Date of discrimination which you are alleging?

MACH 12, 20/5

B. Does your employer have fewer than 15 employees (20 for age complaints)?

Yes No_ >< How many employees? x LO t

C. Have you filed a complaint with another agency (such as the New York State Division
of Human Rights or the New York City Commission on Human Rights?

Yes. _sNo x
if Yes, Name of agency and date of filing:
lac
D. Do you work for a Federal Government Agency (Such as the U.S. Postal Service?

Yes Nos

+E YOU ANSWERED YES TO ANY OF THE ABOVE QUESTIONS, PLEASE SEE THE
RECEPTIONIST, AS THE EEOC MAY NOT HAVE JURISDICTION OVER YOUR CLAIMS

If you answered NO to the above questions, please fill out the questionnaire and return it the
receptionist, who will give you further instructions about our procedures.

AGA

 
 

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4, What is the reason (basis) for your claim of employment discrimination?

FOR EXAMPLE, if you feel that you were treated worse than someone else because of race, you should check the box next fo
Race. Ifyou feel you were treated worse for several reasons, such as your sex, religion and national origin, you should check ail
that apply. if you complained about discrimination, participated in someone else’s complaint, or filed a charge of discrimination,
and a negative action was threatened or taken, you should check the box next to Retaliation.

a Race Sex MAge 0 Disability National Origin O Religion &¥ Retaliation O Pregnancy C3 Color (typically a

difference in skin shade within the same race) () Genetic Information; circle which type(s) of genetic information is involved: j,
genetic testing ii. family medical history ili, genetic services (genetic services means counseling, education or testing}

if you checked color, religion or national origin, please specify: P:rsr? b E usl Sem che
CommersTar I pveilheany Atos Tad, 26/24 Joi!
if you checked genetic information, how did the employer obtain the genetic information? _.

 

Other reason (basis) for discrimination (Explain): $62 aqwarc Mets, pape?

5, What happened to you that you believe was discriminatory? Include the date(s) of harm, the action(s), and the name(s) and

itle(s) of the person(s ou believe discriminated against you. Please attach additional pages If needed.
(Example: 10/02/06 — Discharged by Mr. John Soto, Production Supervisor} PLEASE SEZ paravcuet papers

 

A. Date: Action:

 

Name and Title of Person(s) Responsible:
B. Date: Action:

 

 

 

Name and Title of Person(s) Responsible
6, Why do you believe these actions were discriminatory? Please attach additional pages if needed.

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7. What reason(s) were given to you for the acts you consider discriminatory? By whom? His or Her Job Title?

 

 

8, Describe who was fn the same or similar situation as you and how they were treated, For example, who else appited for
the same job you did, whe else had the same attendance record, or who else had the same performance? Provide the race,
sex, age, national origin, religton, or disability of these individuals, if known, and if it relates to your claim of
discrimination. For example, if your complaint alleges race discrimination, provide the race af each person; if It alleges sex
discrimination, provide the sex of each person; and so on. Use additional sheets if needed.

Of the persons in the same or similar situation as you, who was treated beter than you?

Full Name Race, sex, age, national origin, religion or disability Job Title Description of Treatment

A.

 

 

 

 

 
